            Case 1:23-cv-11775-MJJ Document 14 Filed 09/13/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
FRANCESCA GINO,                           )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                  C.A. No. 23-cv-11775-MJJ
                                          )
PRESIDENT AND FELLOWS OF                  )
HARVARD COLLEGE, SRIKANT                  )
DATAR, URI SIMONSOHN,                     )
LEIF NELSON, JOSEPH SIMMONS,              )
JOHN DOES 1-10 AND JANE DOES 1-10,        )
                                          )
      Defendants                          )
__________________________________________)


       ASSENTED-TO MOTION OF URI SIMONSOHN, LEIF NELSON, AND
   JOSEPH SIMMONS TO EXTEND TIME TO ANSWER OR OTHERWISE PLEAD
                IN RESPONSE TO AMENDED COMPLAINT

       Defendants Uri Simonsohn, Leif Nelson, and Joseph Simmons (hereinafter, the “Data

Colada Defendants”), with the assent of plaintiff Francesca Gino, hereby move to extend the date

for each of them to answer or otherwise plead in response to plaintiff’s Amended Complaint

from October 9, 2023 to November 8, 2023. In support of this motion, the Data Colada

Defendants state as follows.

       1.      This action was filed on August 2, 2023. On August 9, 2023, Plaintiff sent waiver

of service forms to each of the Data Colada Defendants, including to defendant Uri Simonsohn

in Barcelona, Spain.

       2.      The Data Colada Defendants have timely waived service.

       3.      Under Fed. R. Civ. P. 4(d)(3), a defendant such as Mr. Simonsohn who is sent a

waiver of service “outside any judicial district of the United States” has 90 days from the date
            Case 1:23-cv-11775-MJJ Document 14 Filed 09/13/23 Page 2 of 3




the waiver form is sent to answer the complaint or otherwise plead. As such, his response

deadline would be November 7, 2023.

       4.      The three Data Colada Defendants are represented by the same counsel. As such,

they request that their response deadlines be aligned, and set for November 7, 2023.

       5.      As further reason for this motion, the Data Colada defendants state that the

Amended Complaint is 100 pages long with approximately 141 pages of exhibits. Counsel for

the Data Colada Defendants requires the extra time to respond to the many allegations in the

Amended Complaint.

       6.      Counsel for Plaintiff Francesca Gino has assented to the relief requested in this

motion.

       For the foregoing reasons, defendants Uri Simonsohn, Leif Nelson, and Joseph Simmons

respectfully request that their deadline to answer or otherwise plead in response to the Amended

Complaint be extended to November 7, 2023.

                                                     Respectfully Submitted,

                                                     URI SIMONSOHN, LEIF NELSON,
                                                     AND JOSEPH SIMMONS,

                                                     By their attorney,

                                                     /s/ Jeffrey J. Pyle
                                                     Jeffrey J. Pyle (BBO# 647438)
                                                     PRINCE LOBEL TYE LLP
                                                     One International Place, Suite 3700
                                                     Boston, MA 02110
                                                     (617) 456-8000 (tel)
                                                     (617) 456-8100 (fax)
                                                     jpyle@princelobel.com




                                                2
          Case 1:23-cv-11775-MJJ Document 14 Filed 09/13/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I hereby certify that the within document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and by
first-class mail to any non-registered participants.

                                                      /s/ Jeffrey J. Pyle
                                                      Jeffrey J. Pyle




                                                  3
4594667
